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                                 8      KIMYA PHILLIPS
                                 9

                                 10                           UNITED STATES DISTRICT COURT
                                 11
                                                            CENTRAL DISTRICT OF CALIFORNIA
                                 12
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
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                                 13
                                        KIMYA PHILLIPS, an individual,             CASE NO.: 5:21−cv−01719−JWH−SP
                                 14

                                 15                         Plaintiff,             THIRD AMENDED COMPLAINT
                                                                                   FOR DAMAGES:
                                 16           vs.
                                 17                                                    1. DISCRIMINATION ON THE
                                        SELECT REHABILITATION, LLC,                       BASIS OF DISABILITY
                                 18     a Delaware Limited Liability                      (GOV’T. CODE § 12940 et seq.);
                                 19     Company; JENNIFER HOFF, an                     2. DISABILITY-BASED
                                        individual; LINDSEY ALDRIDGE,                     ASSOCIATIONAL
                                 20     an individual; CESAR CIRUELA, an                  DISCRIMINATION (GOV’T
                                 21     individual; and DOES 1 through 50,                CODE § 12926 (O));
                                        inclusive,                                     3. FAILURE TO
                                 22                                                       ACCOMMODATE
                                 23                         Defendants.                   DISABILITY (GOV’T. CODE §
                                                                                          12940 (m));
                                 24                                                    4. FAILURE TO ENGAGE IN
                                 25                                                       TIMELY, GOOD-FAITH,
                                                                                          INTERACTIVE PROCESS
                                 26                                                       (GOV’T. CODE § 12940 (n));
                                 27                                                    5. RETALIATION IN
                                                                                          VIOLATION OF FEHA;
                                 28
                                                                                   1
                                                              THIRD AMENDED COMPLAINT FOR DAMAGES
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                                                                                6. RETALIATION AND/OR
                                                                                   UNLAWFUL DENIAL OF
                                 2                                                 LEAVE IN VIOLATION OF
                                 3                                                 CFRA, GOV’T. CODE §12945.2
                                                                                   ET SEQ.;
                                 4                                              7. RETALIATION AND/OR
                                 5                                                 UNLAWFUL DENIAL OF
                                                                                   LEAVE IN VIOLATION OF
                                 6                                                 FMLA, CODE OF FEDERAL
                                 7                                                 REGULATIONS § 825 ET SEQ.;
                                                                                8. INTENTIONAL INFLICTION
                                 8                                                 OF EMOTIONAL DISTRESS;
                                 9                                              9. FAILURE TO PREVENT
                                                                                   DISCRIMINATION,
                                 10                                                HARASSMENT, AND
                                 11                                                RETALIATION;
                                                                                10.FAILURE TO PAY MEAL AND
                                 12                                                REST PERIOD
                                                                                   COMPENSATION (LABOR
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                                 13
                                                                                   CODE § 226.7);
                                 14                                             11.NON-COMPLIANT WAGE
                                 15                                                STATEMENTS (LABOR CODE
                                                                                   § 226);
                                 16                                             12.WAITING TIME PENALTIES
                                 17                                                (LABOR CODE §§ 201, 203);
                                                                                13.UNFAIR COMPETITION (BPC
                                 18                                                § 17200 ET SEQ.)
                                 19                                             14.UNLAWFUL DEDUCTIONS
                                                                                   FROM WAGES (LABOR CODE
                                 20                                                §§ 221 AND 223);
                                 21                                             15.WRONGFUL TERMINATION
                                                                                   IN VIOLATION OF PUBLIC
                                 22                                                POLICY (GOV’T. CODE §
                                 23                                                12900 ET SEQ.);
                                                                                16. FAILURE TO PRODUCE
                                 24                                                PERSONNELAND PAYROLL
                                 25                                                RECORDS (LABOR CODE §§
                                                                                   226 & 1198.5);
                                 26

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                                                                            2
                                                           THIRD AMENDED COMPLAINT FOR DAMAGES
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                                                                                        17.HARRASSMENT – HOSTILE
                                                                                           WORKPLACE ENVIRONMENT
                                 2                                                         (Gov. Code §§ 12940 (a) and
                                 3                                                         12926 (o));

                                 4

                                 5                                                 JURY TRIAL DEMANDED
                                 6
                                              COMES NOW Plaintiff, KIMYA PHILLIPS, who respectfully alleges the
                                 7
                                        following:
                                 8
                                                                                       I.
                                 9
                                                                  GENERAL ALLEGATIONS
                                 10
                                             1.      This is an action for Violations of California law against SELECT
                                 11
                                        REHABILITATION, LLC, JENNIFER HOFF, LINDSEY ALDRIDGE, and
                                 12
                                        CESAR CIRUELA by and through their respective sole proprietors, owners,
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                                 13
                                        shareholders, officers, directors, members, managing agents, alter egos, and DOES
                                 14
                                        1 THROUGH 50, inclusive (collectively, “Defendants”), for: (1) discrimination on
                                 15
                                        the basis of disability; (2) discrimination on the basis of association with a disabled
                                 16
                                        person(s) (3) failure to accommodate disability; (4) failure to engage in timely,
                                 17
                                        good-faith, interactive process; (5) retaliation in Violation of FEHA; (6) retaliation
                                 18
                                        and/or unlawful denial of CFRA leave; (7) retaliation and/or unlawful denial of
                                 19
                                        FMLA leave; (8) intentional infliction of emotional distress; (9) failure to prevent
                                 20
                                        discrimination, harassment, and retaliation in Violation of FEHA; (10) Failure to
                                 21
                                        Pay Meal and Rest Period Compensation; (11) Non-Compliant Wage Statements;
                                 22
                                        (12) Failure to Pay Wages in a Timely Manner (Waiting Time Penalties); (13)
                                 23
                                        Unfair Competition; and (14) Unlawful Deduction of Wages; (15) wrongful
                                 24
                                        termination in Violation of California public policy; (16) failure to produce
                                 25
                                        personnel and payroll records; and (17) harassment – hostile workplace
                                 26
                                        environment.
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                                 1            2.     Venue is proper in this Court because Plaintiff is informed and
                                 2      believes that at all times relevant to this action, all Defendants, and/or Does 1
                                 3      through 50, inclusive, had their principal place of business and were doing business
                                 4      in SAN BERNARDINO County, California; Defendants employed Plaintiff in
                                 5      SAN BERNARDINO County; Plaintiff worked in SAN BERNARDINO County
                                 6      throughout her employment with Defendants; Defendants’ relevant actions herein
                                 7      alleged occurred in SAN BERNARDINO County; witnesses reside in SAN
                                 8      BERNARDINO County; and Defendants’ relevant records are maintained and
                                 9      administered in SAN BERNARDINO County.
                                 10                                             II.
                                 11                                      THE PARTIES
                                 12           3.     At all relevant times, Plaintiff KIMYA PHILLIPS (“Plaintiff” or
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                                        “PHILLIPS”) is and was an individual over the age of 18 and a resident of the
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                                 14     County of SAN BERNARDINO, State of California.
                                 15           4.     Plaintiff is informed and believes and thereon alleges that at all
                                 16     relevant times, Defendant SELECT REHABILITATION, LLC (hereinafter,
                                 17     “SELECT”, or collectively with co-Defendants, “Defendants”) was and is a
                                 18     corporation or other business entity authorized to do business in SAN
                                 19     BERNARDINO County, California, and was and is doing business in SAN
                                 20     BERNARDINO County.
                                 21           5.     Plaintiff is informed and believes and thereon alleges that Defendant
                                 22     JENNIFER HOFF (hereinafter, “HOFF”, or collectively with co-Defendants,
                                 23     “Defendants”) is, and at all times mentioned in this Complaint was, employed by
                                 24     SELECT, and was and is a resident of SAN BERNARDINO County, California.
                                 25     At all relevant times, Defendant HOFF occupied a managerial position at
                                 26     SELECT, had direct supervisory authority over Plaintiff, and/or exercised
                                 27     supervisory authority over Plaintiff within the scope of Defendant HOFF’S
                                 28     employment and authority.
                                                                                 4
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                                 1            6.     Plaintiff is informed and believes and thereon alleges that Defendant
                                 2      LINDSEY ALDRIDGE (hereinafter, “ALDRIDGE”, or collectively with co-
                                 3      Defendants, “Defendants”) is, and at all times mentioned in this Complaint was,
                                 4      employed by SELECT, and was and is a resident of SAN BERNARDINO County,
                                 5      California. At all relevant times, Defendant ALDRIDGE occupied a managerial
                                 6      position at SELECT, had direct supervisory authority over Plaintiff, and/or
                                 7      exercised supervisory authority over Plaintiff within the scope of Defendant
                                 8      ALDRIDGE’S employment and authority.
                                 9            7.     Plaintiff is informed and believes and thereon alleges that Defendant
                                 10     CESAR CIRUELA (hereinafter, “CIRUELA”, or collectively with co-Defendants,
                                 11     “Defendants”) is, and at all times mentioned in this Complaint was, employed by
                                 12     SELECT, and was and is a resident of SAN BERNARDINO County, California.
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                                        At all relevant times, Defendant CIRUELA occupied a managerial position at
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                                 14     SELECT, had direct supervisory authority over Plaintiff, and/or exercised
                                 15     supervisory authority over Plaintiff within the scope of Defendant CIRUELA’S
                                 16     employment and authority.
                                 17           8.     Plaintiff is informed and believes and thereon alleges that all events
                                 18     relevant to this Complaint occurred in SAN BERNARDINO County, California.
                                 19     Plaintiff is further informed and believes that witnesses to the events described
                                 20     herein were and are residents of SAN BERNARDINO County, California.
                                 21           9.     Plaintiff is ignorant of the true names and capacities of Defendants
                                 22     sued herein as Does 1 through 50, inclusive, and therefore sues these Defendants
                                 23     by such fictitious names. Plaintiff will amend this Complaint to allege their true
                                 24     names and capacities when the same are ascertained. Plaintiff is informed and
                                 25     believes and thereon alleges that each of the fictitiously named Defendants is
                                 26     responsible in some manner for all occurrences herein alleged including the named
                                 27     Defendants’ discriminatory, harassing, retaliatory, and other illegal acts, and that
                                 28     Plaintiff’s damages alleged herein are proximately caused by these Defendants.
                                                                                 5
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                                 1            10.    Plaintiff is informed and believes and thereon alleges that at all
                                 2      relevant times, all Defendants, including Defendants sued herein as Does 1 through
                                 3      50, were agents, employees, and/or joint venturers of the other Defendants, or were
                                 4      otherwise working in concert with the other Defendants, and were acting within
                                 5      the course and scope of such agency, employment, joint venture, and/or concerted
                                 6      activity. The herein alleged acts and omissions perpetrated by any single
                                 7      Defendant, or any group of Defendants, and their agents, were confirmed and
                                 8      ratified by all other Defendants, both individually and collectively.
                                 9            11.    At all relevant times, Defendants SELECT, JENNIFER HOFF,
                                 10     LINDSEY ALDRIDGE, CESAR CIRUELA, and Does 1 through 50, and each of
                                 11     them, were the agents, servants, and alter-egos of each other, and as such, the acts
                                 12     and omissions of one Defendant are considered the acts and omissions of all
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                                        Defendants. Plaintiff is informed and believes and thereon alleges that there is
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                                 14     such unity of interests and ownership between these Defendants that separate status
                                 15     no longer exists, and that observance of the fiction of separate existence among
                                 16     these Defendants would sanction fraud and promote injustice.
                                 17           12.    Whenever and wherever reference is made in this Complaint to any
                                 18     act or failure to act by any single Defendant or any group of Defendants, such
                                 19     reference shall also be deemed to mean the acts and failures to act of each
                                 20     Defendant, and all Defendants, acting individually, jointly, and severally.
                                 21           13.    Whenever and wherever reference is made to individuals who are not
                                 22     named as Plaintiffs or Defendants in this Complaint but were agents, servants,
                                 23     employees, and/or supervisors of Defendants, such individuals, at all relevant
                                 24     times, acted on behalf of named and Doe Defendants within the scope of their
                                 25     employment and authority.
                                 26     ///
                                 27     ///
                                 28     ///
                                                                                 6
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                                 1                                              III.
                                 2                                FACTUAL ALLEGATIONS
                                 3            14.    In or about November of 2019 Defendants hired Plaintiff KIMYA
                                 4      PHILLIPS (“Plaintiff”) as a Physical Therapist Assistant. As a full-time employee,
                                 5      Plaintiff performed all her job duties satisfactorily until she was wrongfully
                                 6      terminated on or about May 1, 2020.
                                 7            15.    On or about March 25, 2020, Plaintiff went on a medical leave of
                                 8      absence until April 23, 2020, due to her status as a caretaker for her
                                 9      immunocompromised mother and grandmother. Plaintiff submitted all appropriate
                                 10     documentation to Defendants HOFF and ALDRIDGE.
                                 11           16.    Both Plaintiff’s mother, and grandmother passed away causing
                                 12     Plaintiff immense stress, anxiety, and depression, among other things. Due to her
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                                        medical conditions, Plaintiff’s physician placed her on further medical leave until
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                                 14     May 16, 2020.
                                 15           17.    On or about April 22, 2020, Plaintiff submitted all appropriate
                                 16     documentation to Defendants.
                                 17           18.    Following Plaintiff’s medical leave extension, HOFF wrote Plaintiff
                                 18     a letter stating that Plaintiff had exhausted all of her time-off benefits and needed
                                 19     to return to work by May 1, 2020, despite still being on a medically required leave
                                 20     of absence. This further aggravated Plaintiff’s stress, anxiety and depression,
                                 21     among other things.
                                 22           19.    Throughout Plaintiff's employment with Defendants, Defendants
                                 23     HOFF, ALDRIDGE, and CIRUELA made it a practice to harass Plaintiff.
                                 24           20.    On May 1, 2020, Defendants wrongfully terminated Plaintiff’s
                                 25     employment.
                                 26           21.    No representative of any Defendant herein ever engaged in an
                                 27     interactive dialogue with Plaintiff regarding ways to accommodate her disability.
                                 28     Instead, Plaintiff’s employment was wrongfully terminated, without any
                                                                                  7
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                                 1      interactive process, because of, among other things: (1) her objection to her
                                 2      wrongful and discriminatory treatment based on her disability status; (2) her
                                 3      objection to her wrongful and discriminatory harassment; (3) her request for
                                 4      reasonable accommodation; (4) her disability; and (5) her association with a
                                 5      disabled person — all of which are protected categories and activities under the
                                 6      Fair Employment & Housing Act (“FEHA”). These were all motivating factors in
                                 7      Defendants’ decision to discharge Plaintiff effective May 1, 2020.
                                 8            22.     At all times relevant hereto, Plaintiff was a non-exempt employee
                                 9      under California law and was subject to the California Labor Code and Wage Order
                                 10     requirements. During the relevant period, and due to the nature of Plaintiff’s job
                                 11     duties, Plaintiff’s legally mandated thirty (30)-minute uninterrupted meal break
                                 12     was frequently short, late, interrupted, or missed. In addition, Plaintiff rarely had
                                        the opportunity to take a full, timely, uninterrupted ten (10)-minute rest period.
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                                 14           23.     Plaintiff never received the one (1) hour of pay Plaintiff was entitled
                                 15     to for each of Defendants’ meal break violations and rest period violations.
                                 16           24.     At all times relevant hereto, Plaintiff regularly worked more than
                                 17     eight hours per day and/or more than forty hours per week.

                                 18           25.     At all times relevant hereto, Plaintiff was not exempt pursuant to

                                 19     Labor Code and Wage Order requirements, including payment of overtime

                                 20     compensation. Despite this, Defendants failed to pay overtime compensation.

                                 21           26.     Defendants failed to pay Plaintiff’s wages at the time the wages

                                 22     became due and payable, and Defendants failed to pay such overdue wages at the

                                 23     time of Plaintiff’s discharge.

                                 24
                                              27.     Moreover, due to Defendants’ failure to provide meal and rest period

                                 25
                                        premiums and wages, Defendants failed to provide Plaintiff with compliant wage

                                 26
                                        statements.

                                 27

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                                 1            28.     Additionally, Defendants’ policies and practices of failing to provide
                                 2      accurate itemized wage statements, timely pay all wages owed, and provide duty-
                                 3      free meal periods, as set forth above, violate the Unfair Competition Law.
                                 4            29.     During the relevant time period, Defendants subjected Plaintiff to
                                 5      discrimination, harassment, and retaliation by, among other things, violating her
                                 6      physical autonomy, altering the conditions of Plaintiff’s employment through
                                 7      harassment, verbal abuse, refusing to provide reasonable accommodation, and
                                 8      refusing to engage in a timely, good-faith, interactive process, despite full
                                 9      awareness of Plaintiff’s disability.
                                 10           30.     At all relevant times, Defendants failed to properly engage in a timely,
                                 11     good-faith, interactive process to ascertain what reasonable accommodation could
                                 12     be provided to Plaintiff in view of her association with a disabled person, medical
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                                        conditions and disability, so that Plaintiff could continue performing her essential
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                                 14     job duties.
                                 15           31.     At all relevant times, Defendants failed to reasonably accommodate
                                 16     Plaintiff even though Plaintiff was able to perform the essential job duties of her
                                 17     position or another position with reasonable accommodation.
                                 18           32.     Plaintiff’s termination from employment was substantially motivated
                                 19     by Plaintiff’s association with a disabled person, and disability, without any
                                 20     discussion of accommodation or any good-faith attempt to engage in an interactive
                                 21     process with Plaintiff. Defendants’ discriminatory animus is evident and amply
                                 22     demonstrated by the above facts.
                                 23           33.     Therefore, Defendants discriminated against, harassed, and retaliated
                                 24     against Plaintiff on the basis of Plaintiff’s association with a disabled person,
                                 25     disability, and/or Plaintiff’s protected activities, which included, without
                                 26     limitation, requesting reasonable accommodation and complaining about
                                 27     discrimination, and harassment.
                                 28
                                                                                  9
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                                 1          34.    As a result of Defendants’ actions, Plaintiff has suffered and will
                                 2    continue to suffer general and special damages, including severe and profound
                                 3    emotional distress and mental anguish, and past and future lost wages and benefits.
                                 4          35.    Defendants’ conduct described herein was undertaken, authorized,
                                 5    and/or ratified by Defendants’ officers, directors, and/or managing agents,
                                 6    including but not limited to JENNIFER HOFF, LINDSEY ALDRIDGE, CESAR
                                 7    CIRUELA, and those identified herein as DOES 1 through 50, who were
                                 8    authorized and empowered to make decisions that reflect and/or create policy for
                                 9    Defendants. The aforementioned conduct of said managing agents and individuals
                                 10   was, therefore, undertaken on behalf of Defendants, who further had advance
                                 11   knowledge of the actions and conduct of said individuals. Such actions and
                                 12   conduct were ratified, authorized, and approved by managing agents whose precise
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                                      identities are unknown to Plaintiff at this time and who are, therefore, designated
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                                 14   herein as DOES 1 through 50, inclusive.
                                 15                                             IV.
                                 16                                FIRST CAUSE OF ACTION
                                 17         Employment Discrimination Based on Disability – Violation of Fair
                                 18                              Employment and Housing Act
                                 19                            (Government Code § 12940 et seq.)
                                 20      [Against All Defendants except for JENNIFER HOFF, LINDSEY ALDRIDGE,
                                 21                                  and CESAR CIRUELA]
                                 22         36.    Plaintiff incorporates herein by reference, as though fully set forth at
                                 23   length, each and every allegation and statement contained in the preceding and
                                 24   subsequent paragraphs.
                                 25         37.    At all relevant times, FEHA, Government Code section 12940 et seq.,
                                 26   was in full force and effect and was binding on Defendants. This statute requires
                                 27   Defendants to refrain from discriminating against any employee based on disability
                                 28   (including actual, perceived, and history of). Within the time provided by law,
                                                                               10
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                                 1    Plaintiff filed a complaint with the DFEH, in full compliance with administrative
                                 2    requirements, and received a right-to-sue letter (ATTACHED AS EXHIBIT A).
                                 3          38.    Plaintiff is informed and believes and thereon alleges that Plaintiff’s
                                 4    disability was a motivating factor in Defendants’ wrongdoing, which included,
                                 5    without limitation, the following: (1) Defendants’ refusal to reasonably
                                 6    accommodate Plaintiff’s disability; (2) Defendants’ failure to engage in a timely,
                                 7    good-faith, interactive process with Plaintiff to determine whether reasonable
                                 8    accommodation could be provided for her disability; and (3) terminating Plaintiff’s
                                 9    employment due to Plaintiff’s disability.
                                 10         39.    At all relevant times, Plaintiff was an individual with a disability
                                 11   within the meaning of Government Code § 12926 (m). Additionally, at all relevant
                                 12   times, Plaintiff was willing, able, and qualified to perform the duties and functions
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                                      of the position in which she was employed and/or trained, or could have performed
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                                 14   the duties and functions of that position with reasonable accommodation. At no
                                 15   time would Plaintiff’s performance of the functions of the employment position,
                                 16   with reasonable accommodation for Plaintiff’s disability, have been a danger to
                                 17   Plaintiff or any other person’s health or safety. Reasonable accommodation of
                                 18   Plaintiff’s disability would not have imposed an undue hardship on Defendants.
                                 19         40.    Defendants’ acts and omissions, including terminating Plaintiff’s
                                 20   employment, constitute unlawful and discriminatory employment practices on
                                 21   account of Plaintiff’s physical disability, in Violation of Government Code §
                                 22   12900 et seq.
                                 23         41.    As a direct, foreseeable, and proximate result of Defendants’ conduct
                                 24   as alleged herein, Plaintiff has suffered and will continue to suffer actual damages,
                                 25   including lost earnings and other employment benefits, in a sum in excess of the
                                 26   jurisdictional limit of this Court, the exact amount of which is not yet known,
                                 27   which amount will be proven at trial.
                                 28
                                                                               11
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                                 1          42.    As a further direct, foreseeable, and proximate result of said wrongful
                                 2    acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 3    suffer substantial emotional distress, and will incur other incidental and
                                 4    consequential damages and losses, all in amounts to be proven at trial. Plaintiff
                                 5    claims all such amounts as damages, together with prejudgment interest, pursuant
                                 6    to any provision of law providing for prejudgment interest.
                                 7          43.    As a further direct, foreseeable, and proximate result of Defendants’
                                 8    discriminatory and wrongful actions against Plaintiff as alleged herein, Plaintiff
                                 9    has suffered and will continue to suffer special damages that include, without
                                 10   limitation, loss of wages, salary, benefits, and/or additional amounts of money
                                 11   Plaintiff would have received but for Defendants’ discriminatory and wrongful
                                 12   actions as alleged herein. Plaintiff also continues to suffer the intangible loss of
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                                      such employment-related opportunities as experience in the position Plaintiff held
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                                 14   and advancement opportunities.
                                 15         44.    As a further direct, foreseeable, and proximate result of said wrongful
                                 16   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 17   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 18   and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 19         45.    The aforementioned acts were carried out by Defendants in a
                                 20   malicious, willful, and oppressive manner, with intent to injure and cause damage
                                 21   to Plaintiff, entitling Plaintiff to recover exemplary damages from Defendants
                                 22   under Civil Code § 3294.          Defendants’ decision to terminate Plaintiff’s
                                 23   employment based on Plaintiff’s disability was reached and implemented with
                                 24   intent to injure Plaintiff and with intent to prevent the exercise of Plaintiff’s
                                 25   statutory rights. Defendants’ officers, directors, and managerial and supervisory
                                 26   employees participated in the unlawful conduct as alleged above, or had actual
                                 27   knowledge that the above- alleged conduct was unlawful and occurring but
                                 28
                                                                               12
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                                 1    nevertheless authorized and/or ratified the practices in conscious disregard of the
                                 2    rights of Plaintiff.
                                 3           46.     Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 4    an award of reasonable attorney’s fees and costs.
                                 5                                 SECOND CAUSE OF ACTION
                                 6                 Employment Discrimination Based on Association with a Person
                                 7                  Having a Disability or Perceived Disability – Violation of Fair
                                 8                                  Employment and Housing Act
                                 9                  [Against All Defendants except for JENNIFER HOFF, LINDSEY
                                 10                               ALDRIDGE, and CESAR CIRUELA]
                                 11          47.     Plaintiff incorporates herein by reference, as though fully set forth at
                                 12   length, each and every allegation and statement contained in the preceding and
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                                      subsequent paragraphs.
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                                 14          48.     At all relevant times, FEHA, Government Code section 12940 et seq.,
                                 15   was in full force and effect and binding on Defendants. This statute requires
                                 16   Defendants to refrain from discriminating against any employee based on, among
                                 17   other things, disability (including actual, perceived, and history of). In law,
                                 18   disability includes association with a person who has, or is perceived to have, a
                                 19   disability (Government Code, section 12926(o)). Within the time provided by law,
                                 20   Plaintiff filed a complaint with the Department of Fair Employment and Housing
                                 21   (“DFEH”), in full compliance with administrative requirements, and received a
                                 22   right-to-sue letter (ATTACHED AS EXHIBIT A).
                                 23          49.     After learning that Plaintiff was the caretaker of his seriously ill
                                 24   mother, Defendants considered Plaintiff to be disabled and/or associated with a
                                 25   person who has a disability or perceived disability.
                                 26          50.     Plaintiff is informed and believes and thereon alleges that Plaintiff’s
                                 27   disability and/or associational disability were motivating factors in Defendants’
                                 28   wrongdoing in this case. This includes that, among other things, (1) Defendants
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                                 1    feared that Plaintiff could also develop his mother’s disability or perceived
                                 2    disability, and that (2) Defendants singled out Plaintiff for closer scrutiny on
                                 3    attendance and daily activities after learning that Plaintiff had a disability and/or
                                 4    medical condition(s) and was his mother’s caretaker.
                                 5           51.   Defendants’ acts and omissions, including terminating Plaintiff’s
                                 6    employment, constitute unlawful and discriminatory employment practices on
                                 7    account of Plaintiff’s disability and/or associational disability based on being the
                                 8    caretaker of his seriously ill mother, in violation of Government Code § 12900 et
                                 9    seq.
                                 10          52.   As a direct, foreseeable, and proximate result of Defendants’ conduct,
                                 11   Plaintiff has suffered and will continue to suffer actual damages, including lost
                                 12   earnings and other employment benefits, in a sum in excess of the jurisdictional
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                                      limit of this Court, the exact amount of which is not yet known, which amount will
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                                 14   be proven at trial.
                                 15          53.   As a further direct, foreseeable, and proximate result of said wrongful
                                 16   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 17   suffer substantial emotional distress, and will incur other incidental and
                                 18   consequential damages and losses, all in amounts to be proven at trial. Plaintiff
                                 19   claims such amounts as damages together with prejudgment interest pursuant to
                                 20   any provision of law providing for prejudgment interest.
                                 21          54.   As a further direct, foreseeable, and proximate result of Defendants’
                                 22   discriminatory and wrongful actions against Plaintiff, Plaintiff has suffered and
                                 23   will continue to suffer special damages that include, without limitation, loss of
                                 24   wages, salary, benefits, and/or additional amounts of money Plaintiff would have
                                 25   received but for Defendants’ discriminatory conduct. Plaintiff also continues to
                                 26   suffer the intangible loss of such employment-related opportunities as experience
                                 27   in the position Plaintiff held and advancement opportunities.
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                                 1          55.    As a further direct, foreseeable, and proximate result of said wrongful
                                 2    acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 3    suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 4    and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 5          56.    The aforementioned acts were carried out by Defendants in a
                                 6    malicious, willful, and oppressive manner with intent to injure and cause damage
                                 7    to Plaintiff, entitling Plaintiff to recover exemplary damages from Defendants
                                 8    under Civil Code § 3294.          Defendants’ decision to terminate Plaintiff’s
                                 9    employment based on Plaintiff’s disability and/or associational disability was
                                 10   reached and implemented with intent to injure Plaintiff and with intent to prevent
                                 11   the exercise of Plaintiff’s statutory rights. Defendants’ officers, directors, and
                                 12   managerial and supervisory employees participated in the unlawful conduct as
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                                      alleged above, or had actual knowledge that the above- alleged conduct was
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                                 14   unlawful and occurring, but nevertheless authorized and/or ratified the practices in
                                 15   conscious disregard of the rights of Plaintiff.
                                 16         57.    Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 17   an award of reasonable attorney’s fees and costs.
                                 18                                THIRD CAUSE OF ACTION
                                 19       Failure to Accommodate Disability or Perceived Disability- Violation of
                                 20                         The Fair Employment and Housing Act
                                 21                            (Government Code § 12940 et seq.)
                                 22      [Against All Defendants except for JENNIFER HOFF, LINDSEY ALDRIDGE,
                                 23                                   and CESAR CIRUELA]
                                 24         58.    Plaintiff incorporates herein by reference, as though fully set forth at
                                 25   length, each and every allegation and statement contained in the preceding and
                                 26   subsequent paragraphs.
                                 27         59.    At all relevant times, FEHA, Government Code sections 12940 (a)
                                 28   and 12940 (m), was in full force and effect and was binding on Defendants. This
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                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1    statute requires Defendants to provide reasonable accommodation to known
                                 2    disabled employees. Within the time provided by law, Plaintiff filed a complaint
                                 3    with the DFEH, in full compliance with administrative requirements, and received
                                 4    a right-to-sue letter (ATTACHED AS EXHIBIT A).
                                 5           60.    At all relevant times, Defendants were fully aware of Plaintiff’s
                                 6    disability.   Plaintiff attempted to obtain reasonable accommodation from
                                 7    Defendants for her disability.     Defendants, through their owners, managers,
                                 8    employees, and agents, refused to provide Plaintiff with reasonable
                                 9    accommodation and refused to engage in any meaningful discussion to determine
                                 10   if Plaintiff could be reasonably accommodated.
                                 11          61.    Defendants’ discriminatory and retaliatory actions against Plaintiff,
                                 12   as alleged above, constitute unlawful discrimination in employment on account of
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                                      Plaintiff’s disability, in Violation of the Fair Employment and Housing Act,
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                                 14   because Defendants failed to reasonably accommodate Plaintiff’s disability despite
                                 15   full awareness thereof and despite being repeatedly requested to provide
                                 16   reasonable accommodation (Government Code Section 12940 (m)).
                                 17          62.    As a direct, foreseeable, and proximate result of Defendants’ conduct
                                 18   as alleged herein, Plaintiff has suffered and will continue to suffer actual damages,
                                 19   including lost earnings and other employment benefits, in a sum in excess of the
                                 20   jurisdictional limit of this Court, the exact amount of which is not yet known,
                                 21   which amount will be proven at trial.
                                 22          63.    As a further direct, foreseeable, and proximate result of said wrongful
                                 23   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 24   suffer substantial emotional distress, and will incur other incidental and
                                 25   consequential damages and losses, all in amounts to be proven at trial. Plaintiff
                                 26   claims such amounts as damages together with prejudgment interest pursuant to
                                 27   any provision of law providing for prejudgment interest.
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                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1          64.    As a further direct, foreseeable, and proximate result of Defendants’
                                 2    discriminatory and wrongful actions against Plaintiff as alleged herein, Plaintiff
                                 3    has suffered and will continue to suffer special damages that include, without
                                 4    limitation, loss of wages, salary, benefits, and/or additional amounts of money
                                 5    Plaintiff would have received but for Defendants’ discriminatory and wrongful
                                 6    actions as alleged herein. Plaintiff continues to suffer the intangible loss of such
                                 7    employment-related opportunities as experience in the position she held and
                                 8    advancement opportunities.
                                 9          65.    As a further direct, foreseeable, and proximate result of said wrongful
                                 10   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 11   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 12   and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
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                                            66.    The aforementioned acts were carried out by Defendants in a
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                                 14   malicious, willful, and oppressive manner, with intent to injure and cause damage
                                 15   to Plaintiff, entitling Plaintiff to recover exemplary damages from Defendants
                                 16   under Civil Code § 3294.        Defendants’ decision to refuse to accommodate
                                 17   Plaintiff’s disability was reached and implemented with intent to injure Plaintiff
                                 18   and with intent to prevent the exercise of her statutory rights. Defendants’ officers,
                                 19   directors, and managerial and supervisory employees participated in the unlawful
                                 20   conduct as alleged above, or had actual knowledge that the above-alleged conduct
                                 21   was unlawful and occurring but nevertheless authorized and/or ratified the
                                 22   practices in conscious disregard of the rights of Plaintiff.
                                 23         67.    Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 24   an award of reasonable attorney’s fees and costs.
                                 25                             FOURTH CAUSE OF ACTION
                                 26            Failure to Engage in A Timely, Good-Faith, Interactive Process
                                 27                              (Government Code § 12940 (n))
                                 28      [Against All Defendants except for JENNIFER HOFF, LINDSEY ALDRIDGE,
                                                                                17
                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1                                   and CESAR CIRUELA]
                                 2          68.    Plaintiff incorporates herein by reference, as though fully set forth at
                                 3    length, each and every allegation and statement contained in the preceding and
                                 4    subsequent paragraphs.
                                 5          69.    At all relevant times, FEHA, Government Code section 12940(n), was
                                 6    in full force and effect and was binding on Defendants. This statute requires
                                 7    Defendants to engage in a timely, good-faith, interactive process with an employee
                                 8    who has a known disability or known medical condition and who has requested
                                 9    reasonable accommodation therefor, to determine whether effective reasonable
                                 10   accommodation could be provided. Within the time provided by law, Plaintiff filed
                                 11   a complaint with the DFEH, in full compliance with administrative requirements,
                                 12   and received a right-to-sue letter (ATTACHED AS EXHIBIT A).
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                                            70.    At all relevant times, Defendants knew that Plaintiff had a disability,
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                                 14   and Plaintiff attempted to obtain from Defendants reasonable accommodation for
                                 15   Plaintiff’s disability. Defendants, through their employees and agents, failed to
                                 16   adequately and timely respond to Plaintiff’s requests for reasonable
                                 17   accommodation and refused to engage in any meaningful discussion to determine
                                 18   whether Plaintiff could be provided with reasonable accommodation.
                                 19         71.    Defendants refused and failed to engage in a timely and adequate
                                 20   good-faith interactive process with Plaintiff to determine an effective reasonable
                                 21   accommodation in response to Plaintiff’s request for reasonable accommodation,
                                 22   in Violation of Government Code § 12940 (n).
                                 23         72.    As a direct, foreseeable, and proximate result of Defendants’ conduct
                                 24   as alleged herein, Plaintiff has suffered and will continue to suffer actual damages,
                                 25   including lost earnings and other employment benefits, in a sum in excess of the
                                 26   jurisdictional limit of this Court, the exact amount of which is not yet known,
                                 27   which amount will be proven at trial.
                                 28
                                                                               18
                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1          73.    As a further direct, foreseeable, and proximate result of said wrongful
                                 2    acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 3    suffer substantial emotional distress, and will incur other incidental and
                                 4    consequential damages and losses, all in amounts to be proven at trial. Plaintiff
                                 5    claims such amounts as damages together with prejudgment interest pursuant to
                                 6    any provision of law providing for prejudgment interest.
                                 7          74.    As a further direct, foreseeable, and proximate result of Defendants’
                                 8    discriminatory, retaliatory, and wrongful actions against Plaintiff as alleged herein,
                                 9    Plaintiff has suffered and will continue to suffer special damages that include,
                                 10   without limitation, loss of wages, salary, benefits, and/or additional amounts of
                                 11   money she would have received but for Defendants’ discriminatory, retaliatory,
                                 12   and wrongful actions as alleged herein. Plaintiff continues to suffer the intangible
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                                      loss of such employment-related opportunities as experience in the position
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                                 14   Plaintiff held and advancement opportunities.
                                 15         75.    As a further direct, foreseeable, and proximate result of said wrongful
                                 16   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 17   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 18   and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 19         76.    The aforementioned acts were carried out by Defendants in a
                                 20   malicious, willful, and oppressive manner, with intent to injure and cause damage
                                 21   to Plaintiff, entitling Plaintiff to recover exemplary damages from Defendants
                                 22   under Civil Code § 3294. Defendants’ failure to engage in a timely, good-faith,
                                 23   interactive process with Plaintiff despite full awareness of Plaintiff’s disability was
                                 24   done with intent to injure Plaintiff and with intent to prevent the exercise of
                                 25   Plaintiff’s statutory rights. Defendants’ officers, directors, and managerial and
                                 26   supervisory employees participated in the unlawful conduct as alleged above, or
                                 27   had actual knowledge that the above- alleged conduct was unlawful and occurring
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                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1    but nevertheless authorized and/or ratified the practices in conscious disregard of
                                 2    the rights of Plaintiff.
                                 3           77.    Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 4    an award of reasonable attorney’s fees and costs.
                                 5                                   FIFTH CAUSE OF ACTION
                                 6                                 Retaliation in Violation of FEHA
                                 7       [Against All Defendants except for JENNIFER HOFF, LINDSEY ALDRIDGE,
                                 8                                       and CESAR CIRUELA]
                                 9           78.    Plaintiff incorporates herein by reference, as though fully set forth at
                                 10   length, each and every allegation and statement contained in the preceding and
                                 11   subsequent paragraphs.
                                 12          79.    At all relevant times, FEHA was in full force and effect and was
                                      binding on Defendants.           This statute requires Defendants to refrain from
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                                 14   discriminating against, harassing, and retaliating against any employee based on,
                                 15   among other things, age, race, religion, disability, national origin, sex, gender,
                                 16   requesting disability-related accommodation, and protesting any harassing and
                                 17   discriminatory conduct.         Within the time provided by law, Plaintiff filed a
                                 18   complaint with the DFEH, in full compliance with administrative requirements,
                                 19   and received a right-to-sue letter (ATTACHED AS EXHIBIT A).
                                 20          80.    Plaintiff engaged in the protected activities of requesting disability-
                                 21   related accommodations from Defendants and protesting Defendants’ harassing
                                 22   and discriminatory conduct towards Plaintiff based upon Plaintiff’s and disability
                                 23   and association with a disabled person(s).
                                 24          81.    Plaintiff is informed and believes and thereon alleges that Plaintiff’s
                                 25   acts of requesting accommodation and protesting Defendants’ harassing and
                                 26   discriminatory conduct, and/or some combination of these factors, were motivating
                                 27   reasons and/or factors in Defendants’ decisions to subject Plaintiff to the
                                 28   aforementioned adverse employment actions.
                                                                                 20
                                                                 THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1          82.    After Plaintiff informed Defendants of Plaintiff’s disability and
                                 2    protested the harassment and discrimination she experienced based on her
                                 3    disability and association with a disabled person, Plaintiff was subjected to
                                 4    retaliation by Defendants.
                                 5          83.    Plaintiff is informed and believes and thereon alleges that Defendants’
                                 6    retaliatory conduct against Plaintiff was motivated by Plaintiff’s complaint about
                                 7    the harassment and discrimination she suffered and by Plaintiff’s disability and
                                 8    request for disability-related accommodations.
                                 9          84.    Defendants violated the FEHA by retaliating against Plaintiff and
                                 10   terminating Plaintiff’s employment for attempting to exercise Plaintiff’s protected
                                 11   rights, as set forth above.
                                 12         85.    As a direct, foreseeable, and proximate result of said wrongful acts
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                                      and failures to act by Defendants, Plaintiff has suffered and will continue to suffer
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                                 14   substantial general damages and emotional distress, and will incur other incidental
                                 15   and consequential damages and losses, all in amounts to be proven at trial.
                                 16         86.    As a further direct, foreseeable, and proximate result of Defendants’
                                 17   wrongful actions against Plaintiff as alleged herein, Plaintiff has suffered and will
                                 18   continue to suffer special damages that include, without limitation, loss of wages,
                                 19   salary, benefits, and/or additional amounts of money she would have received but
                                 20   for Defendants’ retaliatory actions as alleged herein. Plaintiff also continues to
                                 21   suffer the intangible loss of such employment-related opportunities as experience
                                 22   in the position she held and advancement opportunities. Such damages are in a
                                 23   sum in excess of the jurisdictional limit of this Court, the exact amount of which is
                                 24   not yet known, which amount will be proven at trial.
                                 25         87.    As a further direct, foreseeable, and proximate result of said wrongful
                                 26   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 27   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 28   and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                                                               21
                                                             THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1           88.    The above-described acts of Defendants were committed by and
                                 2    through their managing agents, officers, or directors. Further, such acts were
                                 3    carried out in a deliberate, cold, callous, fraudulent, and intentional manner in order
                                 4    to injure and cause damage to Plaintiff and/or in conscious disregard of Plaintiff’s
                                 5    rights. Such acts were despicable, and constitute malice, fraud, and/or oppression
                                 6    within the meaning of Civil Code section § 3294. Accordingly, Plaintiff is entitled
                                 7    to an assessment of punitive damages against Defendants, in an amount to be
                                 8    proven at trial.
                                 9           89.    Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 10   a reasonable award of attorney’s fees and costs.
                                 11

                                 12                                 SIXTH CAUSE OF ACTION
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                                             For Retaliation and/or Unlawful Denial of Leave in Violation of Gov’t
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                                 14                                     Code §12945.2 et seq.
                                 15                [Against All Defendants except for JENNIFER HOFF, LINDSEY
                                 16                              ALDRIDGE, and CESAR CIRUELA]
                                 17          90.    Plaintiff incorporates herein by reference, as though fully set forth at
                                 18   length, each and every allegation and statement contained in the preceding and
                                 19   subsequent paragraphs.
                                 20          91.    At all relevant times, the California Family Rights Act (“CFRA”),
                                 21   codified by Government Code §12945.2 et seq., was in full force and effect and
                                 22   binding upon Defendants and each of them. Under the CFRA, it shall be an
                                 23   unlawful employment practice for any covered employer to refuse to grant a
                                 24   request by any qualified employee to take up to a total of 12 workweeks in any 12-
                                 25   month period for family care and medical leave for the employee’s own serious
                                 26   medical condition. Under the CFRA, it is also an unlawful employment practice
                                 27   for a covered employer to refuse to hire, or to discharge, fine, suspend, expel, or
                                 28   discriminate against, any individual because the individual has exercised or
                                                                                22
                                                             THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1    attempted to exercise his or her right to take protected family care and medical
                                 2    leave under the CFRA. Furthermore, it is an unlawful employment practice for an
                                 3    employer to interfere with, restrain, or deny the exercise of, or the attempt to
                                 4    exercise, any right provided under the CFRA.
                                 5             92.   At all relevant times, Plaintiff was an employee eligible for CFRA
                                 6    leave. At all relevant times, Plaintiff had been employed by Defendants for more
                                 7    than 12 months, and Plaintiff had worked at least 1,250 hours during the previous
                                 8    12 months. Further, Defendants employed at least 50 employees within 75 miles
                                 9    of the worksite at which Plaintiff worked.
                                 10            93.   Defendants violated the CFRA by failing and/or refusing to provide
                                 11   Plaintiff with the family care and medical leave that Plaintiff requested.
                                 12            94.   Defendants violated the CFRA by retaliating against Plaintiff for
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                                      exercising or attempting to exercise Plaintiff’s right to protected family care and
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                                 14   medical leave under the CFRA.
                                 15            95.   Defendants violated the CFRA by interfering with or restraining
                                 16   Plaintiff from exercising or attempting to exercise Plaintiff’s right to protected
                                 17   family care and medical leave under the CFRA, and by failing to give Plaintiff
                                 18   notice of Plaintiff’s rights under the CFRA, including the right to take protected
                                 19   leave.
                                 20            96.   Plaintiff suffered the adverse employment actions of, among other
                                 21   things, unlawful harassment, discrimination, retaliation, and termination from
                                 22   employment.
                                 23            97.   Plaintiff is informed and believes and thereon alleges that exercising
                                 24   or attempting to exercise Plaintiff’s right to family care and medical leave was a
                                 25   motivating reason and/or factor in Defendants’ decisions to subject Plaintiff to the
                                 26   aforementioned adverse employment actions.
                                 27            98.   The abovesaid acts of Defendants constitute violations of the CFRA
                                 28   and proximately caused Plaintiff’s damages as herein alleged.
                                                                                23
                                                             THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1          99.    The damage allegations set forth above, inclusive, are herein
                                 2    incorporated by reference.
                                 3          100. The foregoing conduct of Defendants individually, or by and through
                                 4    their officers, directors, and/or managing agents, was intended by Defendants to
                                 5    cause injury to Plaintiff, or was despicable conduct carried on by Defendants with
                                 6    a willful and conscious disregard of the rights of Plaintiff, or subjected Plaintiff to
                                 7    cruel and unjust hardship in conscious disregard of Plaintiff’s rights, such as to
                                 8    constitute malice, oppression, or fraud under Civil Code §3294, thereby entitling
                                 9    Plaintiff to punitive damages in an amount appropriate to punish or make an
                                 10   example of Defendants.
                                 11         101. Pursuant to Government Code §12965(b), Plaintiff requests a
                                 12   reasonable award of attorney’s fees and costs.
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                                                                 SEVENTH CAUSE OF ACTION
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                                 14       For Retaliation and/or Unlawful Denial of Leave in Violation of Family
                                 15          and Medical Leave Act, Code of Federal Regulations § 825 Et Seq.
                                 16      [Against All Defendants except for JENNIFER HOFF, LINDSEY ALDRIDGE,
                                 17                                   and CESAR CIRUELA]
                                 18         102. Plaintiff incorporates herein by reference, as though fully set forth at
                                 19   length, each and every allegation and statement contained in the preceding and
                                 20   subsequent paragraph.
                                 21         103. At all relevant times, the Family and Medical Leave Act (“FMLA”),
                                 22   codified by the Code of Federal Regulations §825 et seq., was in full force and
                                 23   effect and binding upon Defendants and each of them.
                                 24         104. At all relevant times, Plaintiff was employed with Defendants for
                                 25   more than 12 months, and worked 1,250 hours during the 12-month period before
                                 26   his employment was terminated.
                                 27

                                 28
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                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1             105. Plaintiff is informed and believes and thereon alleges that Defendants
                                 2    employed 50 or more employees within 75 miles of the worksite at which Plaintiff
                                 3    was employed.
                                 4             106. The FMLA and other applicable provisions make it unlawful for any
                                 5    employer to deny employees family care and medical leave to care for their own
                                 6    serious medical condition and/or other qualifying reason for taking a medical
                                 7    leave.
                                 8             107. Plaintiff asserted this right by providing Defendants with reasonable
                                 9    notice of his serious medical condition or disability and/or other qualifying reason
                                 10   for family care and medical leave, and requested leave to, among other things,
                                 11   attend medical appointments.
                                 12            108. Defendants denied Plaintiff FMLA leave and/or retaliated against
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                                      Plaintiff for requesting and/or taking it.
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                                 14            109. Defendants terminated Plaintiff’s employment because Plaintiff
                                 15   requested FMLA leave and/or took time off to recuperate from his medical
                                 16   condition or disability.
                                 17            110. As a direct, foreseeable, and proximate result of Defendants’ conduct,
                                 18   Plaintiff has suffered and will continue to suffer actual damages, including lost
                                 19   earnings and other employment benefits, in a sum in excess of the jurisdictional
                                 20   limit of this Court, the exact amount of which is not yet known, which amount will
                                 21   be proven at trial.
                                 22            111. As a further direct, foreseeable, and proximate result of said wrongful
                                 23   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 24   suffer substantial emotional distress, and will incur other incidental and
                                 25   consequential damages and losses, all in an amount to be proven at trial. Plaintiff
                                 26   claims such amounts as damages together with prejudgment interest pursuant to
                                 27   any provision of law providing for prejudgment interest.
                                 28
                                                                                   25
                                                              THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1          112. As a further direct, foreseeable, and proximate result of Defendants’
                                 2    discriminatory, retaliatory, and wrongful actions against Plaintiff, Plaintiff
                                 3    suffered and will continue to suffer special damages that include, without
                                 4    limitation, loss of wages, salary, benefits, and/or additional amounts of money he
                                 5    would have received but for Defendants’ discriminatory and/or retaliatory actions.
                                 6    Plaintiff continues to suffer the intangible loss of such employment-related
                                 7    opportunities as experience in the position Plaintiff held and advancement
                                 8    opportunities.
                                 9          113. As a further direct, foreseeable, and proximate result of said wrongful
                                 10   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 11   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 12   and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
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                                            114. The aforementioned acts were carried out by Defendants in a
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                                 14   malicious, willful, and oppressive manner with intent to injure and cause damage
                                 15   to Plaintiff, entitling Plaintiff to recover exemplary damages from Defendants
                                 16   under Civil Code § 3294. Defendants’ decision to terminate Plaintiff’s employment
                                 17   because of Plaintiff’s request for and/or attempt to take FMLA leave was done with
                                 18   intent to injure Plaintiff and with intent to prevent the exercise of his statutory
                                 19   rights. Defendants’ officers, directors, and managerial and supervisory employees
                                 20   participated in the unlawful conduct as alleged above, or had actual knowledge that
                                 21   the above-alleged conduct was unlawful and occurring, but nevertheless authorized
                                 22   and/or ratified the practices in conscious disregard of the rights of Plaintiff.
                                 23                            EIGHTH CAUSE OF ACTION
                                 24                      Intentional Infliction of Emotional Distress
                                 25                                 [Against All Defendants]
                                 26         115. Plaintiff incorporates herein by reference, as though fully set forth at
                                 27   length, each and every allegation and statement contained in the preceding and
                                 28   subsequent paragraphs.
                                                                                26
                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1           116. Defendants’ conduct towards Plaintiff, as described herein, was
                                 2    outrageous and extreme.
                                 3           117. Defendant’s conduct was outrageous because it goes beyond all
                                 4    possible bounds of decency. Defendants’ conduct was outrageous because a
                                 5    reasonable person would regard the conduct as intolerable in a civilized
                                 6    community.
                                 7           118. Defendants intended to cause Plaintiff’s emotional distress or acted
                                 8    with reckless disregard of the probability that Plaintiff would suffer emotional
                                 9    distress, knowing that Plaintiff was present when the conduct occurred.
                                 10          119. Defendants knew that emotional distress would probably result from
                                 11   Defendants’ conduct or Defendants gave little or no thought to the probable effects
                                 12   of their conduct.
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                                             120. As a further direct, foreseeable, and proximate result of said wrongful
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                                 14   acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 15   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 16   and anguish, all to Plaintiff’s damages in an amount to be proven at time of trial.
                                 17          121. Defendants’ conduct was a substantial factor in causing Plaintiff’s
                                 18   severe emotional distress.
                                 19          122. The acts and/or omissions of Defendants, and each of them, caused
                                 20   Plaintiff to suffer harm and economic damages, in an amount to be proven at time
                                 21   of trial.
                                 22          123. The above-described acts of Defendants were taken by and through
                                 23   their managing agents, officers or directors. Further, such conduct was engaged in
                                 24   through a deliberate, cold, callous, fraudulent and intentional manner in order to
                                 25   injure and damage Plaintiff and/or with a conscious disregard of Plaintiff’s and his
                                 26   rights. Such acts were despicable, and constitute malice, fraud, and/or oppression
                                 27   within the meaning of Civil Code section § 3294. Accordingly, Plaintiff is entitled
                                 28
                                                                               27
                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1    to an assessment of punitive damages against Defendants, in an amount to be
                                 2    proven at time of trial.
                                 3                               NINTH CAUSE OF ACTION
                                 4

                                 5
                                      Failure to Prevent Discrimination, Harassment, and Retaliation in Violation

                                 6                                            of FEHA

                                 7       [Against All Defendants except for JENNIFER HOFF, LINDSEY ALDRIDGE,
                                 8                                   and CESAR CIRUELA]
                                 9          124. Plaintiff incorporates herein by reference, as though fully set forth at
                                 10   length, each and every allegation and statement contained in the preceding and
                                 11   subsequent paragraphs.
                                 12         125. At all relevant times, FEHA was in full force and effect and was
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                                      binding on Defendants.       This statute requires Defendants to refrain from
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                                 14   discriminating against, harassing, and retaliating against any employee based on,
                                 15   among other things, age, religion, race, national origin, and disability. Within the
                                 16   time provided by law, Plaintiff filed a complaint with the DFEH, in full compliance
                                 17   with administrative requirements, and received a right-to-sue letter (ATTACHED
                                 18   AS EXHIBIT A).
                                 19         126. Plaintiff was subjected to discrimination, harassment, and retaliation
                                 20   due to Plaintiff’s disability, association with a disabled person, her requesting
                                 21   reasonable accommodation, and her protesting Defendants’ unlawful conduct.
                                 22         127. Defendants failed to take reasonable steps to prevent the
                                 23   discrimination, harassment, and retaliation Plaintiff was subjected to despite
                                 24   Defendants’ full awareness thereof. Instead, Defendants terminated Plaintiff’s
                                 25   employment based on Plaintiff’s disability, association with a disabled person, and
                                 26   her engaging in protected activities.
                                 27         128. As a direct, foreseeable, and proximate result of said wrongful acts
                                 28   and failures to act by Defendants, Plaintiff has suffered and will continue to suffer
                                                                                28
                                                             THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1    substantial general damages and emotional distress, and will incur other incidental
                                 2    and consequential damages and losses, all in amounts to be proven at trial.
                                 3             129. As a further direct and proximate result of Defendants’ wrongful
                                 4    actions against Plaintiff as alleged herein, Plaintiff has suffered and will continue
                                 5    to suffer special damages that include, without limitation, loss of wages, salary,
                                 6    benefits, and/or additional amounts of money she would have received but for
                                 7    Defendants’ unlawful conduct as alleged herein. Plaintiff also continues to suffer
                                 8    the intangible loss of such employment-related opportunities as experience in the
                                 9    position she held and advancement opportunities. Such damages are in a sum in
                                 10   excess of the jurisdictional limit of this Court, the exact amount of which is not yet
                                 11   known, which amount will be proven at trial.
                                 12            130. As a further direct, foreseeable, and proximate result of said wrongful
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                                      acts and failures to act by Defendants, Plaintiff has suffered and will continue to
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                                 14   suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 15   and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 16            131. The above-described acts of Defendants were committed by and
                                 17   through their managing agents, officers, or directors. Further, such acts were
                                 18   carried out in a deliberate, cold, callous, fraudulent, and intentional manner in order
                                 19   to injure and cause damage to Plaintiff and/or in conscious disregard of Plaintiff’s
                                 20   rights. Such acts are despicable and constitute malice, fraud, and/or oppression
                                 21   within the meaning of Civil Code § 3294. Accordingly, Plaintiff is entitled to an
                                 22   assessment of punitive damages against Defendants, in an amount to be proven at
                                 23   trial.
                                 24            132. Under the Fair Employment and Housing Act, Plaintiff is entitled to
                                 25   an award of reasonable attorney’s fees and costs.
                                 26                                 TENTH CAUSE OF ACTION
                                 27                      Failure to Pay Meal and Rest Period Compensation
                                 28                            (California Labor Code §§ 226.7 and 512)
                                                                                29
                                                              THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1                 [Against All Defendants except for JENNIFER HOFF, LINDSEY
                                 2                               ALDRIDGE, and CESAR CIRUELA]
                                 3          133. Plaintiff incorporates herein by reference, as though fully set forth at
                                 4    length, each and every allegation and statement contained in the preceding and
                                 5    subsequent paragraphs.
                                 6          134. Plaintiff regularly worked in excess of five (5) hours a day without
                                 7    receiving a timely and uninterrupted meal period in which he was relieved of all
                                 8    duties, as required by California Labor Code §§ 226.7 and 512 and all applicable
                                 9    Wage Orders. Defendants failed and refused to compensate Plaintiff for these
                                 10   missed, untimely, or interrupted meal periods, in accordance with the premium
                                 11   compensation mandated by California Labor Code §§ 226.7 and 512 and all
                                 12   applicable Wage Orders.
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                                            135. Plaintiff regularly worked in excess of four (4) hours or a fraction
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                                 14   thereof each workday without being provided with at least a ten-minute rest period
                                 15   during which he was relieved of all duties, as required by California Labor Code
                                 16   §§ 226.7 and 512 and all applicable Wage Orders. Defendants failed and refused
                                 17   to compensate Plaintiff for these missed, untimely, or interrupted rest periods, in
                                 18   accordance with the premium compensation mandated by California Labor Code
                                 19   §§ 226.7 and 512 and all applicable Wage Orders.
                                 20         136. California Labor Code § 226.7 and the applicable Wage Order require
                                 21   that employee meal periods must be provided no later than the end of an employee's
                                 22   fifth hour of work. A second meal period must also be provided no later than the
                                 23   end of an employee's 10th hour of work.
                                 24         137. California Labor Code § 226.7 and the applicable Wage Order also
                                 25   establish that employees are entitled to 10 minutes of rest for shifts of three and
                                 26   one-half to six hours in length, 20 minutes of rest for shifts of greater than six hours
                                 27   up to 10 hours, 30 minutes of rest for shifts of more than 10 hours up to 14 hours,
                                 28   and so on.
                                                                                 30
                                                             THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1          138. California Labor Code § 226.7 outlines the following penalty for
                                 2    failing to provide meal or rest periods: “the employer shall pay the employee one
                                 3    additional hour of pay at the employee’s regular rate of compensation for each
                                 4    workday that the meal or rest or recovery period is not provided.” Therefore, if an
                                 5    employer fails to provide both meal and rest periods, the penalty would be two (2)
                                 6    additional hours of pay per workday.
                                 7          139. By failing to provide meal and rest periods, Defendants deprived
                                 8    Plaintiff of his statutory rights, and by refusing to pay Plaintiff the additional wages
                                 9    required for such violations, Defendants deprived Plaintiff of his rightfully earned
                                 10   compensation. As a direct, legal, and proximate result of Defendants’ improper
                                 11   conduct, Plaintiff has been harmed and is entitled to recover such amounts, plus
                                 12   interest thereon, attorney’s fees and costs, plus statutory and civil penalties,
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                                      pursuant to California Labor Code § 558 and other applicable laws and regulations.
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                                 14                              ELEVENTH CAUSE OF ACTION
                                 15                               Non-Compliant Wage Statements
                                 16                           (California Labor Code §§ 226 and 226.3)
                                 17      [Against All Defendants except for JENNIFER HOFF, LINDSEY ALDRIDGE,
                                 18                                   and CESAR CIRUELA]
                                 19         140. Plaintiff incorporates herein by reference, as though fully set forth at
                                 20   length, each and every allegation and statement contained in the preceding and
                                 21   subsequent paragraphs.
                                 22         141. Pursuant to California Labor Code § 226(a), on a bi-weekly basis, or
                                 23   at the time of payment of wages, Defendants are required to furnish each of their
                                 24   employees with an accurate itemized statement, in writing, showing, inter alia, (1)
                                 25   gross wages earned, (2) total hours worked by the employee, (3) the number of
                                 26   piece-rate units earned and any applicable piece rate if the employee is paid on a
                                 27   piece-rate basis, (4) all deductions, provided that all deductions made on written
                                 28   orders of the employee may be aggregated and shown as one item, (5) net wages
                                                                                 31
                                                             THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1    earned, (6) the inclusive dates of the period for which the employee is paid, (7) the
                                 2    name of the employee and only the last four digits of his or her social security
                                 3    number or an employee identification number other than a social security number,
                                 4    (8) the name and address of the legal entity that is the employer and, if the employer
                                 5    is a farm labor contractor, the name and address of the legal entity that secured the
                                 6    services of the employer, and (9) all applicable hourly rates in effect during the pay
                                 7    period and the corresponding number of hours worked at each hourly rate by the
                                 8    employee and, if the employer is a temporary services employer, the rate of pay
                                 9    and the total hours worked for each temporary services assignment.
                                 10         142. At all relevant times, Defendants intentionally failed to furnish
                                 11   Plaintiff with an itemized statement in writing showing the true number of hours
                                 12   worked and other aforementioned requirements. Defendants failed to provide
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                                      Plaintiff with the opportunity to take legally mandated rest periods, or to pay
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                                 14   Plaintiff one hour of wages as compensation for each rest period not provided in
                                 15   accordance with California law. As a result, Defendants failed to furnish Plaintiff
                                 16   with an itemized statement in writing showing that Plaintiff had earned one
                                 17   additional hour of pay for each workday that a rest period is not properly provided.
                                 18         143. As a direct, legal, and proximate result of Defendants’ improper
                                 19   conduct, Plaintiff has been harmed. Further, Plaintiff is informed and believes, and
                                 20   based thereon alleges, that Defendants knowingly and intentionally failed to
                                 21   provide Plaintiff with accurate itemized wage statements pursuant to California
                                 22   Labor Code § 226(a) in order to conceal their liability from Plaintiff. Pursuant to
                                 23   California Labor Code § 226(e), employees (such as Plaintiff) who suffer injury
                                 24   as a result of a knowing and intentional failure by an employer to comply with the
                                 25   provisions of California Labor Code § 226(a) are entitled to recover the greater of
                                 26   all actual damages or fifty dollars ($50.00) for the initial pay period in which a
                                 27   violation occurs and one hundred dollars ($100) per employee for each violation
                                 28   in a subsequent pay period, not exceeding an aggregate penalty of four thousand
                                                                                32
                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1    dollars ($4,000), and are entitled to costs and reasonable attorney’s fees.
                                 2    Accordingly, Plaintiff is entitled to damages for the harm suffered herein.
                                 3                              TWELFTH CAUSE OF ACTION
                                 4            Failure to Pay Wages in a Timely Manner (Waiting Time Penalties)
                                 5                        (California Labor Code §§ 201 and 203 et seq.)
                                 6                [Against All Defendants except for JENNIFER HOFF, LINDSEY
                                 7                              ALDRIDGE, and CESAR CIRUELA]
                                 8          144. Plaintiff incorporates herein by reference, as though fully set forth at
                                 9    length, each and every allegation and statement contained in the preceding and
                                 10   subsequent paragraphs.
                                 11         145. California Labor Code § 201 provides in relevant part: "[i]f an
                                 12   employer discharges an employee, the wages earned and unpaid at the time of
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                                      discharge are due and payable immediately."
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                                 14         146. California Labor Code § 203 provides in relevant part: “[i]f an
                                 15   employer willfully fails to pay, without abatement or reduction, in accordance with
                                 16   Sections 201, 201.3, 201.5, 201.9, 202, and 205.5, any wages of an employee who
                                 17   is discharged or who quits, the wages of the employee shall continue as a penalty
                                 18   from the due date thereof at the same rate until paid or until an action therefor is
                                 19   commenced; but the wages shall not continue for more than 30 days.”
                                 20         147. As alleged herein, Defendants failed to pay the wages of Plaintiff, a
                                 21   former employee of Defendants, at the time the wages became due and payable.
                                 22   Further, Defendants failed to pay such overdue wages at the time of discharge.
                                 23   Thus, Defendants violated California Labor Code §§ 201 and 203.
                                 24         148. Defendants' failure to pay wages as alleged herein was willful as
                                 25   Defendants knew that Plaintiff did not receive all earned pay based on at least the
                                 26   following: (1) Defendants willfully refused to pay Plaintiff for all the time he
                                 27   worked; and (2) Plaintiff was not paid an hour’s worth of wages for each missed
                                 28
                                                                               33
                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1    or interrupted meal and rest period that was not provided as required by California
                                 2    Labor Code § 226.7 and the applicable Wage Orders.
                                 3          149. As a direct, legal, and proximate result of Defendants’ wrongful,
                                 4    knowing, and willful conduct, Plaintiff has been harmed and is entitled to recover,
                                 5    pursuant to California Labor Code § 203, continuing wages as a penalty from the
                                 6    due date thereof at the same rate until paid or until this action was commenced, up
                                 7    to 30 days.
                                 8                             THIRTEENTH CAUSE OF ACTION
                                 9                                          Unfair Competition
                                 10                        (Business & Professions Code § 17200 et seq.)
                                 11    [Against All Defendants except for JENNIFER HOFF, LINDSEY ALDRIDGE,
                                 12                                 and CESAR CIRUELA]
                                            150. Plaintiff incorporates herein by reference, as though fully set forth at
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                                 14   length, each and every allegation and statement contained in the preceding and
                                 15   subsequent paragraphs.
                                 16         151. California Business and Professions Code § 17200 et seq. (the
                                 17   “UCL”) prohibits unfair competition, including but not limited to any unlawful,
                                 18   unfair, or fraudulent business practices.
                                 19         152. California Labor Code § 90.5(a) provides that it is the public policy
                                 20   of the State of California to vigorously enforce labor standards in order to ensure
                                 21   that employees are not required to work under substandard unlawful conditions,
                                 22   and to protect employers who comply with the law from those (such as Defendants)
                                 23   who attempt to gain a competitive advantage at the expense of their workers by
                                 24   failing to comply with minimum labor standards.
                                 25         153. The unlawful conduct of Defendants alleged herein constitutes unfair
                                 26   competition within the meaning of California Business and Professions Code §
                                 27   17200. Due to their unfair and unlawful business practices in violation of the
                                 28   California Fair Employment and Housing Act, Defendants have gained a
                                                                                  34
                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1    competitive advantage over other comparable companies doing business in the
                                 2    State of California that comply with their obligations to, among other things,
                                 3    employ individuals regardless of their age, race, national origin, disability, and
                                 4    other protected status, as well as to provide reasonable disability-related
                                 5    accommodation to known disabled employees, or at a minimum, to engage in a
                                 6    timely, good-faith, interactive process to determine whether such reasonable
                                 7    accommodation could be provided.
                                 8          154. Moreover, Defendants' policies and practices of failing to pay the
                                 9    legally required wages, failing to provide duty-free meal and/or rest periods, failing
                                 10   to provide compliant wage statements, and failing to timely pay all wages owed,
                                 11   as set forth above, violate the UCL in that:
                                 12             a. These are unlawful business practices by definition;
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                                                b. Defendants’ practices are unethical, unscrupulous, and substantially
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                                 14                injurious to consumers. The harm to Plaintiff and to members of the
                                 15                general public outweighs the utility, if any, of Defendants' practices;
                                 16                and
                                 17             c. Defendants' practices have misled Plaintiff and members of the
                                 18                general public.
                                 19         155. The unlawful, unfair, and fraudulent business practices of Defendants,
                                 20   as described above, present a continuing threat to the public in that consumers
                                 21   throughout California have suffered and continue to suffer an injury in fact and lost
                                 22   money as a result of Defendants’ unlawful, unfair, and fraudulent acts or practices.
                                 23   In addition, Defendants have been unjustly enriched as a result of their conduct.
                                 24   Plaintiff and members of the general public have no other adequate remedy in law
                                 25   in that absent equitable relief from the Court, Defendants are likely to continue to
                                 26   injure consumers, reap unjust enrichment, and harm the public interest, thus
                                 27   engendering a multiplicity of judicial proceedings.
                                 28
                                                                                35
                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1          156. As a direct, legal, and proximate result of the above-described actions
                                 2    by Defendants, individually and collectively, Plaintiff has suffered and will
                                 3    continue to suffer special and general damages in a sum in excess of the
                                 4    jurisdictional limit of this Court, the exact amount of which is not yet known,
                                 5    which amount will be proven at trial.
                                 6          157. Plaintiff is entitled to restitution of monies owed to him during the
                                 7    relevant time period as a result of Defendants' unlawful, unfair, and fraudulent
                                 8    conduct, and to injunctive relief.
                                 9          158. Plaintiff is entitled to restitution of the unpaid amounts, as an
                                 10   equitable remedy, and interest at the rate of ten percent per annum, costs of suit,
                                 11   and reasonable attorney's fees pursuant to the underlying claims as alleged herein.
                                 12         159. Pursuant to California Business and Professions Code § 17203, this
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                                      Court may order paid the full amounts wrongfully retained by Defendants to
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                                 14   Plaintiff, for the time period of his employment and continuing thereafter. Plaintiff
                                 15   will, upon leave of Court, amend this Complaint to specifically allege such
                                 16   wrongfully retained amounts when they are ascertained.
                                 17         160. Further, injunctive relief is necessary and appropriate to prevent
                                 18   Defendants from repeating the wrongful business practices alleged herein.
                                 19         161. Plaintiff’s success in this action will enforce important rights affecting
                                 20   the public interest, and in that regard, Plaintiff sues on behalf of the public as well.
                                 21   Plaintiff seeks and is entitled to monies owed and unpaid, an injunction, an
                                 22   equitable accounting, and all other equitable relief required to remedy Defendants'
                                 23   failure to pay the required monies.
                                 24                            FOURTEENTH CAUSE OF ACTION
                                 25                               Unlawful Deductions from Wages
                                 26    [Against All Defendants except for JENNIFER HOFF, LINDSEY ALDRIDGE,
                                 27                                  and CESAR CIRUELA]
                                 28
                                                                                 36
                                                             THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1          162. Plaintiff incorporates herein by reference, as though fully set forth at
                                 2    length, each and every allegation and statement contained in the preceding and
                                 3    subsequent paragraphs.
                                 4          163. California Labor Code § 221 provides: “It shall be unlawful for any
                                 5    employer to collect or receive from an employee any part of wages theretofore paid
                                 6    by said employer to said employee.”
                                 7          164. California Labor Code § 223 provides: “Where any statute or contract
                                 8    requires an employer to maintain the designated wage scale, it shall be unlawful to
                                 9    secretly pay a lower wage while purporting to pay the wage designated by statute
                                 10   or by contract.”
                                 11         165. These and other related statutes, along with California’s fundamental
                                 12   public policy protecting wages and wage scales, prohibit employers from
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                                      subjecting employees to unanticipated or unpredicted reductions in their wages;
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                                 14   making employees the insurers of their employer’s business losses; otherwise
                                 15   passing the ordinary business losses of the employer onto the employee; taking
                                 16   deductions from wages for business losses unless the employer can establish that
                                 17   the loss was caused by a dishonest or willful act, or gross negligence of the
                                 18   employee; or taking other unpredictable deductions that may impose a special
                                 19   hardship on employees.
                                 20         166. Defendants have violated the California Labor Code by unlawfully
                                 21   taking deductions from the compensation of Plaintiff to cover certain ordinary
                                 22   business expenses of Defendants, including the reimbursement of Plaintiff’s
                                 23   expenses.
                                 24         167. Because Defendants took unlawful deductions from the compensation
                                 25   of Plaintiff, Defendants are liable to Plaintiff for the compensation that should have
                                 26   been paid but for the unlawful deductions, pursuant to California Labor Code §§
                                 27   221 and 223.
                                 28
                                                                                37
                                                            THIRD AMENDED COMPLAINT FOR DAMAGES
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                                 1          168. By unlawfully deducting wages and failing to pay Plaintiff,
                                 2    Defendants are also liable for penalties, reasonable attorney’s fees, and costs under
                                 3    California Labor Code §§ 218.5 and 1194.
                                 4                           FIFTEENTH CAUSE OF ACTION
                                 5                  Wrongful Termination in Violation of Public Policy

                                 6     [Against All Defendants except for JENNIFER HOFF, LINDSEY ALDRIDGE,
                                 7                                  and CESAR CIRUELA]
                                 8          169. Plaintiff incorporates herein by reference, as though fully set forth at
                                 9    length, each and every allegation and statement contained in the preceding and
                                 10   subsequent paragraphs.
                                 11         170. Plaintiff’s employment was terminated in retaliation for Plaintiff's
                                 12   complaints about Defendants' unlawful conduct in the form of, among other things,
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                                      harassment, disability discrimination, gender discrimination, and retaliation.
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                                 14   Accordingly, said termination violated fundamental public policies of the State of
                                 15   California.
                                 16         171. In engaging in the conduct set forth above, Defendants illegally
                                 17   terminated Plaintiff's employment.
                                 18         172. As a direct, foreseeable, and proximate result of said wrongful acts
                                 19   and failures to act by Defendants, Plaintiff has suffered and will continue to suffer
                                 20   substantial general damages and emotional distress, and will incur other incidental
                                 21   and consequential damages and losses, all in amounts to be proven at trial.
                                 22         173. As a further direct, foreseeable, and proximate result of Defendants’
                                 23   wrongful actions against Plaintiff as alleged herein, Plaintiff has suffered and will
                                 24   continue to suffer special damages that include, without limitation, loss of wages,
                                 25   salary, benefits, and/or additional amounts of money she would have received but
                                 26   for Defendants’ wrongful conduct as alleged herein. Plaintiff also continues to
                                 27   suffer the intangible loss of such employment-related opportunities as experience
                                 28   in the position she held and advancement opportunities. Such damages are in
                                                                               38
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                                 1    excess of the jurisdictional limit of this Court, the exact amount of which is not yet
                                 2    known, which amount will be proven at trial.
                                 3          174. As a further direct, foreseeable, and proximate result of said wrongful
                                 4    acts and failures to act by Defendants, Plaintiff has suffered and will continue to
                                 5    suffer humiliation, shame, despair, embarrassment, depression, and mental pain
                                 6    and anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 7          175. The above-described acts of Defendants were committed by and
                                 8    through their managing agents, officers, or directors. Further, such acts were
                                 9    carried out in a deliberate, cold, callous, fraudulent, and intentional manner, with
                                 10   intent to injure and cause damage to Plaintiff and/or in conscious disregard of
                                 11   Plaintiff’s rights. Such acts are despicable and constitute malice, fraud, and /or
                                 12   oppression within the meaning of Civil Code § 3294. Accordingly, Plaintiff is
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                                      entitled to an assessment of punitive damages against Defendants, in an amount to
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                                 14   be proven at trial.
                                 15

                                 16                            SIXTEEN CAUSE OF ACTION
                                 17           Failure to Permit Inspection of Personnel and Payroll Records
                                 18                            (Labor Code §§ 226 and 1198.5)
                                 19    [Against All Defendants except for JENNIFER HOFF, LINDSEY ALDRIDGE,
                                 20                                 and CESAR CIRUELA]
                                 21         176. Plaintiff incorporates herein by reference, as though full set forth at
                                 22   length, each and every allegation and statement contained in the preceding and
                                 23   subsequent paragraphs.
                                 24         177. Labor Code §1198.5 requires an employer, within thirty (30) days of
                                 25   a written request thereof, to inspect or receive a copy of an employee’s personnel
                                 26   and payroll records. An employer’s failure to do so subjects the employer to a
                                 27   $750.00 penalty, payable to the employee.
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                                 1          178. Plaintiff properly requested that Defendants produce to Plaintiff,
                                 2    Plaintiff’s personnel, and payroll documents pursuant to Labor Code §§ 1198.5.
                                 3          179. Defendants failed to permit Plaintiff’s inspection of Plaintiff’s
                                 4    personnel and payroll records and failed to produce a copy of Plaintiff’s personnel
                                 5    and payroll records to Plaintiff. Accordingly, Defendants were in violation of the
                                 6    obligations and provisions of Labor Code § 1198.5.
                                 7          180. As a result of Defendants’ failure and refusal to comply with Labor
                                 8    Code § 1198.5, Plaintiff is entitled to recover from Defendants a civil penalty of
                                 9    $750.00.
                                 10         181. As a result of Defendants’ failure and refusal to comply with Labor
                                 11   Code §226(f), Plaintiff is entitled to recover from Defendants a civil penalty of
                                 12   $750.00.
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                                            182. Pursuant to Labor Code §§1198.5(l) and 226(h), Plaintiff requests a
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                                 14   reasonable award of attorneys’ fees and costs.
                                 15                          SEVENTEEN CAUSE OF ACTION
                                 16                      Harassment – Hostile Workplace Environment
                                 17                      (Government Code §§ 12940 (a) and 12926 (o))
                                 18                                 [Against All Defendants]
                                 19         183. Plaintiff refers to and incorporates each paragraph set forth above as
                                 20   though set forth in full in this cause of action.
                                 21         184. At all times herein mentioned, Government Code §§ 12940 (a) and
                                 22   12926 (o) were in full force and effect and binding on Defendant. These statutes
                                 23   prohibit Defendant from discriminating against, harassing, and retaliating against
                                 24   any employee based on, among other things, age, race, national origin, disability,
                                 25   sex, and gender.
                                 26         185. At all relevant times, Defendants employed Plaintiff. Defendants
                                 27   subjected Plaintiff to harassing conduct because of Plaintiff’s color, national
                                 28   origin, and age.
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                                 1           186. At all relevant times, Defendants HOFF, ALDRIDGE, and CIRUELA
                                 2    occupied managerial positions at Defendant SELECT, had direct supervisory
                                 3    authority over Plaintiff, and/or directly supervised Plaintiff within the scope of
                                 4    employment and authority.
                                 5           187. As alleged in this Complaint, Defendants’ harassment included,
                                 6    without limitation, making unwanted and inappropriate comments towards
                                 7    Plaintiff, regularly making offensive remarks and gestures to Plaintiff about
                                 8    Plaintiff’s disability.
                                 9           188. Defendants’ conduct subjected Plaintiff to harassment based on
                                 10   Plaintiff’s disability thereby creating an abusive, hostile, intimidating, oppressive,
                                 11   and offensive work environment for Plaintiff.
                                 12          189. Defendant’s harassing conduct was both severe and pervasive.
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                                      Frequent and continuous, Defendant’s harassment altered the conditions of
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                                 14   Plaintiff’s employment and created a work environment that is hostile,
                                 15   intimidating, offensive, oppressive, and abusive for Plaintiff.
                                 16          190. Any reasonable person in Plaintiff’s circumstances would have
                                 17   considered the work environment created by Defendant’s harassment to be hostile,
                                 18   intimidating, offensive, oppressive, and abusive. Plaintiff considered Defendant’s
                                 19   work environment, at all relevant times, to be hostile, intimidating, offensive,
                                 20   oppressive, and abusive.
                                 21          191. Defendant knew of the harassing conduct of each other towards
                                 22   Plaintiff and failed to take immediate and appropriate corrective action. Therefore,
                                 23   Defendant, and each of them, are responsible for each other’s harassing conduct
                                 24   towards Plaintiff.
                                 25          192. As a direct, foreseeable, and proximate result of Defendant’s conduct
                                 26   as alleged, Plaintiff has suffered and will continue to suffer actual damages,
                                 27   including lost earnings and other employment benefits, in a sum in excess of the
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                                 1    jurisdictional limit of this Court, the exact amount of which is not yet known,
                                 2    which amount will be proven at trial.
                                 3          193. As a direct, foreseeable, and proximate result of Defendant’s
                                 4    wrongful acts and failures to act, Plaintiff has suffered and will continue to suffer
                                 5    substantial emotional distress, and will incur other incidental and consequential
                                 6    damages and losses, all in amounts to be proven at trial. Plaintiff claims all such
                                 7    amounts as damages, together with prejudgment interest, pursuant to any provision
                                 8    of law providing for prejudgment interest.
                                 9          194. As a direct, foreseeable, and proximate result of Defendant’s
                                 10   discriminatory and wrongful actions against Plaintiff as alleged, Plaintiff has
                                 11   suffered and will continue to suffer special damages that include, without
                                 12   limitation, loss of wages, salary, benefits, and/or additional amounts of money
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                                      Plaintiff would have received but for Defendant’s discriminatory and wrongful
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                                 14   actions. Plaintiff continues to suffer the intangible loss of such employment-related
                                 15   opportunities as experience in the position Plaintiff held and advancement
                                 16   opportunities.
                                 17         195. As a direct, foreseeable, and proximate result of said wrongful acts
                                 18   and failures to act by Defendant, Plaintiff has suffered and will continue to suffer
                                 19   humiliation, shame, despair, embarrassment, depression, and mental pain and
                                 20   anguish, causing Plaintiff to incur damages in an amount to be proven at trial.
                                 21         196. Defendant      committed     the   acts   alleged   herein   maliciously,
                                 22   fraudulently, and oppressively, and with the wrongful intention of injuring
                                 23   Plaintiff, and acted with an improper and evil motive amounting to malice or
                                 24   despicable conduct. Alternatively, Defendant’s wrongful conduct was carried out
                                 25   with a conscious disregard for Plaintiff’s rights. Further, Defendant’s wrongful
                                 26   conduct was carried out and ratified by a managing agent; or an officer, a director,
                                 27   or a managing agent who had advance knowledge of the unfitness of its decision-
                                 28   maker and employed him with a conscious disregard of Plaintiff’s rights and/or
                                                                               42
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                                 1    authorized and/or ratified his conduct. As a result, Plaintiff is entitled to recover
                                 2    punitive and exemplary damages in an amount commensurate with Defendant’s
                                 3    wrongful acts and sufficient to punish and deter future similarly reprehensible
                                 4    conduct.
                                 5          197. Plaintiff is entitled to an award of reasonable attorney’s fees and costs
                                 6    pursuant to the Fair Employment and Housing Act.
                                 7                 WHEREFORE, Plaintiff prays judgment against Defendants and
                                 8    Does 1-30 as is hereinafter more fully set forth.
                                 9                             DEMAND FOR JURY TRIAL
                                 10         Plaintiff demands a trial by jury in this action.
                                 11                                   Prayer For Relief
                                 12         Plaintiff prays for judgment in her favor and against Defendants, and each
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                                      of them, as follows:
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                                 14         1.     For general damages according to proof at trial;
                                 15         2.     For special damages according to proof at trial;
                                 16         3.     For a declaratory judgment that Defendants have violated the
                                 17   California Fair Employment and Housing Act, California Labor Code, and
                                 18   California Business and Professions Code.
                                 19         4.     For exemplary and punitive damages according to proof at trial;
                                 20         5.     For an award of back and front pay;
                                 21         6.     For an order enjoining Defendants, and their employees, agents, and
                                 22   any and all other persons acting on Defendants’ behalf or under Defendants’
                                 23   control from violating the California Fair Employment and Housing Act,
                                 24   California Government Code Sections 12940 et seq.;
                                 25         7.     For an order that Defendants institute and implement policies and
                                 26   practices to ensure that employees are not subjected to discrimination, harassment,
                                 27   and retaliation based on disability, association with a disabled person(s),
                                 28   requesting disability-related accommodation, protesting discrimination and
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                                 1    harassment, or other protected status or activity under the Fair Employment and
                                 2    Housing Act;
                                 3          8.    For an order awarding Plaintiff restitution;
                                 4          9.    For statutory penalties, including civil penalties, pursuant to
                                 5    California Labor Code §§ 201, 203, 226(e), 226.7, and 558, and Business and
                                 6    Professions Code § 17203;
                                 7          10.   For an award of attorney’s fees and costs in accordance with law; and
                                 8          11.   For such other and further relief as the court may deem just and
                                 9    proper.
                                 10   DATED: January 11, 2022                  WILSHIRE LAW FIRM
                                 11

                                 12
                                                                         By: /s/ Nathan Kingery
                                                                           Nathan Kingery, Esq.
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13                                        Attorneys for Plaintiff,
                                 14                                        KIMYA PHILLIPS

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                                                          THIRD AMENDED COMPLAINT FOR DAMAGES
